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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE


             In re:                                                       Chapter 11

             COACH USA, INC., et al.,1                                    Case No. 24-11258 (MFW)

                                Debtors.                                  (Jointly Administered)

                                                                          Ref. Docket No. 628

             ORDER CLARIFYING AND ENFORCING THE SCOPE OF THE AUTOMATIC STAY

                      Upon the Debtors’ Motion for Entry of an Order Clarifying and Enforcing the Scope of

         the Automatic Stay (the “Motion”)2 filed by the above-captioned debtors and debtors in

         possession (collectively, the “Debtors”); and this Court having reviewed the Motion; and this

         Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(b) and

         157, and the Amended Standing Order of Reference from the United States District Court for the

         District of Delaware dated as of February 29, 2012; and this Court having found that venue of

         the Chapter 11 Cases and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and

         1409; and this Court having found that this matter is a core proceeding pursuant to 28 U.S.C.

         § 157(b); and this Court having determined that it may enter a final order consistent with Article

         III of the United States Constitution; and this Court having found that notice of the Motion has

         been given as set forth in the Motion and that such notice is adequate and no other or further

         notice need be given; and a hearing having been held to consider the relief requested in the

         Motion; and upon the record of the hearing on the Motion, if any, and all of the proceedings had



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                      A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
                      claims and noticing agent at https://cases.ra.kroll.com/CoachUSA. The Debtors’ mailing address is 160 S
                      Route 17 North, Paramus, NJ 07652.
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                      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
                      Motion.
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         before this Court; and this Court having found and determined that the relief sought in the

         Motion is in the best interests of the Debtors, their estates, their creditors, and all other parties in

         interest; and this Court having determined that the legal and factual basis set forth in the Motion

         establish just cause for the relief granted herein; and after due deliberation and sufficient cause

         appearing therefor,

                  IT IS HEREBY ORDERED THAT:

                  1.     The relief requested in the Motion is GRANTED as set forth herein.

                  2.     Pursuant to the automatic stay of section 362(a) of the Bankruptcy Code

         (the “Automatic Stay”), the New Jersey Action is hereby stayed in its entirety until the date that

         this Court enters a final decree closing the Chapter 11 Cases with respect to each and every

         Debtor or as otherwise ordered by the Court.

                  3.     Pursuant to the Automatic Stay, the California Action is hereby stayed in its

         entirety until the date that this Court enters a final decree closing the Chapter 11 Cases with

         respect to each and every Debtor or as otherwise ordered by the Court.

                  4.     Notwithstanding any applicable provisions of the Bankruptcy Code or otherwise,

         the terms and conditions of this Order shall be immediately effective and enforceable upon its

         entry.

                  5.     The Debtors are authorized to take all actions necessary to effectuate the relief

         granted pursuant to this Order in accordance with the Motion.

                  6.     This Court shall retain exclusive jurisdiction with respect to all matters arising

         from or related to the implementation of this Order.




        Dated: October 22nd, 2024                               MARY F. WALRATH
        Wilmington, Delaware                                    UNITED STATES BANKRUPTCY JUDGE
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